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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA


                                    CIVIL MINUTES – GENERAL

 Case No.   LA CV21-02596 JAK (MRWx)                                       Date        October 22, 2021
 Title      Francine Blain v. Automatic Funds Transfer Services, Inc.




 Present: The Honorable          JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                  T. Jackson                                            Not Reported
                 Deputy Clerk                                   Court Reporter / Recorder
         Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                   Not Present                                           Not Present


 Proceedings:          (IN CHAMBERS) ORDER DISMISSING CASE JS-6

Based on a review of the parties’ Notice of Voluntary Dismissal Pursuant to Fed. R. Civ. P.
41(a)(1)(A)(i), which was filed on the docket of the lead case CV 21-1567 (Dkt. 49), this action
is dismissed in its entirety with prejudice.

IT IS SO ORDERED.




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                                                        Initials of Preparer      TJ




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